                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                  5:07CR14-2-V


UNITED STATES OF AMERICA,                      )
                                               )
           v.                                  )
                                               )                   ORDER
HUMBERTO PACHECO-GAMEZ,                        )
                                               )
                       Defendant.              )
___________________________________________)


       THIS MATTER is before the Court on a “Motion for Attorney to Appear Pro Hac Vice”

(document #30) filed June 1, 2007, requesting admission of Attorney Thomas C. Fagerberg to

represent Defendant Humberto Pacheco-Gamez. For the reasons set forth therein, the motion will

be GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel.

       SO ORDERED.

                                                   Signed: June 4, 2007




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